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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

DENNIS TOOLEY,                            )
an individual,                            )
                                          ) CASE NO.: 1:16-cv-03526-JMS-DML
              Plaintiff,                  )
vs.                                       )
                                          )
NAPIER LEGACY LLC,                        )    Dismissal with prejudice
an Indiana Limited Liability Company,     )    acknowledged. JMS, CJ, 5-25-17
                                          )    Distribution via ECF.
                                          )
              Defendant.                  )
_________________________________________ )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff and Defendant, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, hereby stipulate to dismiss this action with prejudice and, except as otherwise agreed,

each party shall bear its respective fees and costs.

Dated: May 24, 2017

Respectfully submitted,                                Respectfully submitted,


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